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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN THE MATTER OF AMERICAN               §   CIVIL ACTION NO.: 2-23-cv-01489
RIVER TRANSPORTATION CO., LLC,          §
AS OWNER AND OPERATOR OF                §   SECTION: T       DIVISION: 1
THE M/V CREW RUNNER, PRAYING            §
FOR EXONERATION FROM OR                 §   JUDGE: GUIDRY
LIMITATION OF LIABILITY                 §   MAGISTRATE JUDGE: VAN MEERVELD


               PLAINTIFF ANDY LOVE’S INITIAL DISCLOSURES


      Plaintiff, Andy Love, makes these initial disclosures as required by Federal Rule

of Civil Procedure 26(a)(1):

      A. Individuals with Discoverable Information

   1. The name and, if known, the address and telephone number of each individual
      likely to have discoverable information—along with the subjects of that
      information—that the disclosing party may use to support its claims or defenses,
      unless the use would be solely for impeachment.

          a. Andy Love, c/o counsel of record Daniel E. Sheppard, Morrow & Sheppard
             LLP, 5151 San Felipe Street, Ste. 100, Houston, Texas 77056, T: 713-489-
             1206. Mr. Love is a Plaintiff in this matter and has information regarding
             his claims and allegations, how the incident occurred and the persons
             and/or companies involved in the work, policies and procedures and
             equipment on the vessel, where the vessel was headed when the incident
             occurred, the history of the vessel and how it was maintained and operated,
             the fact that safety corners were being cut, the injuries sustained in the
             incident, his medical treatment, and his damages.

          b. Larry Turner, c/o counsel of record Anthony D. Irpino and Bobby G.
             Hawkins, Irpino, Avin & Hawkins Law Firm, 2216 Magazine Street, New
             Orleans, Louisiana 70130, T: 504-525-1500, and Patrick Hufft, Hufft and
             Hufft Law Firm, 635 St. Charles Avenue, New Orleans, Louisiana 70130,
             T: 504-522-9413. Mr. Turner is a Plaintiff in this matter and has
             information regarding his claims and allegations, how the incident occurred
             and the persons and/or companies involved in the work, policies and
             procedures and equipment on the vessel, where the vessel was headed when
             the incident occurred, the history of the vessel and how it was maintained


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       and operated, the fact that safety corners were being cut, the injuries he
       sustained in the incident, his medical treatment, and his damages.

    c. Nicholas Harrington, c/o Stephen Johnson, Morris Bart, LLC, 601 Poydras
       Street, 24th Floor, New Orleans, Louisiana 70130, T: 504-525-8000. Mr.
       Harrington is a Plaintiff in this matter and has information regarding his
       claims and allegations, how the incident occurred and the persons and/or
       companies involved in the work, policies and procedures and equipment on
       the vessel, where the vessel was headed when the incident occurred, the
       history of the vessel and how it was maintained and operated, the fact that
       safety corners were being cut, the injuries he sustained in the incident, his
       medical treatment, and his damages.

    d. Donovan Johnson, additional identifying information will be supplemented.
       Mr. Johnson was aboard the vessel at the time of the incident and has
       information regarding how the incident occurred and the persons and/or
       companies involved in the work, policies and procedures and equipment on
       the vessel, where the vessel was headed when the incident occurred, the
       history of the vessel and how it was maintained and operated, and the fact
       that safety corners were being cut at the time of the incident.

    e. Tony Prapani, additional identifying information will be supplemented.
       Mr. Prapani was aboard the vessel at the time of the incident and has
       information regarding how the incident occurred and the persons and/or
       companies involved in the work, policies and procedures and equipment on
       the vessel, where the vessel was headed when the incident occurred, the
       history of the vessel and how it was maintained and operated, and the fact
       that safety corners were being cut at the time of the incident.

    f. Any and all current and/or former employees/representatives of Labor
       Services, LLC, c/o Aaron B. Greenbaum, Rowen F. Asprodites, Salvador J.
       Pusateri, Shelia R. Tolar, Pusateri, Johnston, Guillot, & Greenbaum, 1100
       Poydras Street, Suite 2250, New Orleans, Louisiana 70163, T: 504-620-
       2500. On information and belief, these current and/or former
       employees/representatives of Labor Services, LLC have knowledge
       regarding the incident, the work involved, policies and procedures and
       equipment at and/or onboard the vessel, Labor Services, LLC’s relationship
       with Archer-Daniels-Midland-Company and/or American River
       Transportation Co., LLC, the history of the vessel, how it was maintained
       and operated, and the fact that safety corners were being cut at the time of
       the incident.

    g. Any and all current and/or former employees/representatives of Archer-
       Daniels-Midland-Company, and/or American River Transportation Co.,


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       LLC reflected in the produced documents, c/o counsel of record Kevin M.
       Frey, Marcelle Mouledoux, Morgan E. Kelley, Gillian M. McCarroll,
       McGlinchey Stafford, PLLC, 601 Poydras Street, 12th Floor, New Orleans,
       Louisiana 70130, T: 504-586-1200. On information and belief, these
       individuals own, operate, and/or work for the owner/operator of the vessel
       and:

                  (a) are involved in the operations and maintenance of the vessel
                      where the incident occurred;

                  (b) have knowledge of the condition of the vessel and her
                      equipment at the time of the incident;

                  (c) have knowledge of the crew aboard the vessel at the time of
                      the incident;

                  (d) have knowledge of the work being performed on the vessel
                      (and neighboring vessel(s)/rig(s) at the time of the incident);

                  (e) have knowledge of applicable operating and safety policies
                      and procedures in effect at the time of the incident;

                  (f) have knowledge of communications with and concerning
                      Plaintiff regarding the incident;

                  (g) have knowledge of the relationship of the parties; and/or

                  (h) have knowledge regarding policies regarding the payment of
                      maintenance and cure benefits;

           These persons and companies also have knowledge regarding the work
           involved, policies and procedures and equipment on the vessel, the
           history of the vessel, hiring and/or retaining of crew aboard the vessel,
           including but not limited to the vessel’s pilot at the time of the incident,
           how it was maintained and operated, and the fact that safety corners
           were being cut.

    h. Plaintiff identifies all information and/or documents produced by
       Defendants Archer-Daniels-Midland-Company’s and/or American River
       Transportation Co., LLC’s in response to this portion of Defendants Federal
       Rule of Civil Procedure 26(a)(1) disclosures as it relates to their insurer(s).
       Plaintiff will supplement upon receipt thereof. On information and belief,
       these individuals insure the owner and/or operator of the vessel and:




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                 (a) have knowledge of the operations and maintenance of the
                     vessel where the incident occurred;

                 (b) have knowledge of the condition of the of the vessel and her
                     equipment at the time of the incident;

                 (c) have knowledge of the work being performed on the vessel
                     (and neighboring vessel(s)/platform(s) at the time of the
                     incident;

                 (d) have knowledge of applicable operating and safety policies
                     and procedures in effect at the time of the incident;

                 (e) have knowledge of communications with and concerning
                     Plaintiff regarding the incident;

                 (f) have knowledge of the relationship of the parties;

                 (g) have knowledge regarding policies regarding the payment of
                     maintenance and cure benefits; and/or

                 (h) made decisions to willfully and wantonly terminate Plaintiff’s
                     maintenance and cure benefits.

          These persons and/or companies also have knowledge regarding the
          work involved, policies and procedures and equipment at the vessel, the
          history of the vessel and how it was maintained and operated, the fact
          that safety corners were being cut.

    i. Any and all employees and/or representatives of any insurers of Archer-
       Daniels-Midland-Company and/or American River Transportation Co.,
       LLC including but not limited to claims adjusters, claims representatives,
       and/or subrogation specialists. On information and belief, these individuals
       would have been working on behalf of, or in the interests of, Archer-
       Daniels-Midland-Company and/or American River Transportation Co.,
       LLC prior to, during and after the incident occurred. On information and
       belief, these individuals along with the non-insurance defendants identified
       above, willfully and wantonly terminated Plaintiff’s maintenance and cure
       benefits. On information and belief, these individuals would have
       knowledge of Mr. Love’s medical records and treatment. On information
       and belief, these individuals would have knowledge of the claims handling
       policies and procedures for the non-insurance defendants, including their
       handling of Plaintiff’s claims and termination of benefits.




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    j. The entities, vessel(s), rig(s) and/or platform(s) that the M/V Crew Runner
       transported and/or provided persons, employees, contractors, tools,
       equipment, goods, bunker fuel, supplies, and/or necessaries at the time of
       the Incident (e.g. when the Plaintiff was injured as a result of the
       allegations raised in Plaintiff’s most-recent petition). On information and
       belief, the names and addresses of the entities and vessel(s), described
       above are being withheld by the non-insurance defendants. On information
       and belief, these representatives work for and/or represent the non-
       insurance defendants and have knowledge of the condition of the vessel,
       location(s) and the equipment involved in the incident, work performed on
       the vessel(s) and/or rig(s) at the location, applicable operating and safety
       policies and procedures, communications with and concerning Plaintiff, and
       the relationship of the parties. These persons and companies also have
       knowledge regarding the work involved, policies and procedures and
       equipment on the vessel, the history of the vessel and how it was
       maintained and operated, the fact that safety corners were being cut.

    k. The employees, contractors, and owners of the entities, vessel(s), and
       platform(s) referenced in section A.1.j. On information and belief, the
       names and addresses of the class of individuals/entities described in section
       A.1.j are being withheld by the non-insurance defendants. On information
       and belief, these representatives work for the have knowledge of the
       condition of the of the location and the equipment involved in the Incident,
       work performed at the location, applicable operating and safety policies and
       procedures, communications with and concerning Plaintiff, and the
       relationship of the parties. These persons and companies also have
       knowledge regarding the work involved, policies and procedures and
       equipment at the vessel, the history of the vessel and how it was maintained
       and operated, the fact that safety corners were being cut.

    l. Medical Providers: Each of the following treating medical providers have
       information regarding the medical treatment, medical charges, and injuries
       sustained by Plaintiff.

            1. Dr. Barton L. Wax, Jefferson Orthopedic Clinic, 920 Avenue B,
               Marrero, Louisiana, 70072, T:504-349-6804.

                All other subsequent doctors that treated Plaintiff for his injuries.
                Plaintiff reserves the right to supplement this information at a later
                date.

    m. Any and all persons identified by Defendants in their initial disclosures.




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          n. Any person identified in Plaintiff’s Expert Disclosures, which are
             incorporated herein by reference.

          o. Any person identified in the documents produced or which will be
             produced during the course of this litigation by any party or subpoenaed
             person or entity.

          p. Any medical providers who provided treatment to Plaintiff for his alleged
             injuries.

          q. Any person otherwise disclosed or discovered during the progress of the
             pre-trial proceedings.

Plaintiff may supplement these initial disclosures as further information and documents
become available.

       B. Relevant Documents & Tangible Things

   1. A copy—or a description by category and location—of all documents,
      electronically stored information, and tangible things that the disclosing party has
      in its possession, custody, or control and may use to support its claims or defenses,
      unless the use would be solely for impeachment.

Plaintiff will produce as discovery continues. Subject thereto, in his possession, custody,
and control, Plaintiff will rely on medical records that he may have or will obtain
regarding the incident, as well as earnings records, if any. Plaintiff will further reply
upon:

          a. Any document produced by any other party (current and former) during
             discovery (to be obtained).

          b. Any deposition or hearing transcript and/or exhibit (to be obtained).

          c. Any document identified by any party in their initial disclosures (to be
             obtained).

          d. All documents produced by any person or entity in response to a subpoena
             in this matter (to be obtained).

          e. All materials provided to or relied on by any expert witness (to be
             obtained).

          f. Any statute the Court deems applicable to this cause of action

          g. All filed pleadings, interrogatory answers, and admissions of the parties.



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          h. All materials provided to or relied on by any expert witness

          i. All materials on his Pretrial Exhibit List

          j. Plaintiff’s expert reports

Plaintiff reserves the right to supplement and object to the production and/or use as
evidence of any document on any ground provided by the federal rules, including, but not
limited to work product, joint defense, and/or privilege.

      C. Information Related to Calculation of Damages

   1. A computation of each category of damages claimed by the disclosing party—who
      must also make available for inspection and copying as under Rule 34 the
      documents or other evidentiary material, unless privileged or protected from
      disclosure, on which each computation is based, including materials bearing on the
      nature and extent of the injuries suffered.

          a. Plaintiff seeks recovery of all compensatory damages, actual damages,
             consequential damages, past and future medical expenses, lost wages in the
             past and future, impaired earning capacity in the past and future, pain and
             suffering in the past and future, mental anguish in the past and future,
             impairment in the past and future, disfigurement in the past and future, loss
             of household services in the past and future, loss of consortium in the past
             and future, interest on damages (pre- and post- judgment), Court costs,
             expert witness fees, deposition costs, attorneys’ fees (where provided by
             agreement, law, statute, and/or agreement), exemplary damages, and all
             other damages available under the applicable law.

          b. Plaintiff intends to rely on expert testimony to calculate his past and future
             losses in income, future loss of earning capacity, and the reasonable cost of
             the medical care his injuries will require in the future. At the time of the
             incident, Plaintiff was working approximately 60 hours per week at a rate
             of approximately $23.00 per hour. His pay was expected to rise.
             Depending on when trial occurs, Plaintiff estimates that the sum of his past-
             medical expenses and lost wages will exceed $500,000.00. Plaintiff will
             ask the jury to apportion the amounts of this non-economic damages, which
             Plaintiff estimates will be in excess of $10 million.

      D. Insurance

   1. For inspection and copying as under Rule 34, any insurance agreement under
      which an insurance business may be liable to satisfy all or part of a possible
      judgment in the action or to indemnify or reimburse for payments made to satisfy
      the judgment.

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           a. None at this time. However, Plaintiff identifies any and all responsive
              documents and/or materials produced by Defendants Archer-Daniels-
              Midland-Company and/or American River Transportation Co., LLC in
              response thereto.


                                                    Respectfully Submitted,

                                                    MORROW & SHEPPARD LLP

                                                        /s/ Daniel E. Sheppard
                                                        Daniel E. Sheppard
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                                                        Houston, TX 77098
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                                                        All E-Service To:
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                                                        dsheppard@morrowsheppard.com

                                                    COUNSEL FOR PLAINTIFF

                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this document was served on counsel of
record via email on July 26, 2023.


                                                    /s/Daniel E. Sheppard
                                                    Daniel E. Sheppard




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